                         UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT
___________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
      v.                            )  No. 3:13 Cr. 226 (RNC)
                                    )
DANIEL E. CARPENTER                 )
___________________________________ )   June 26, 2018

                DEFENDANT DANIEL CARPENTER’S SUBMISSION OF
                        SUPPLEMENTAL AUTHORITY

       Defendant Daniel Carpenter, by and through counsel, respectfully calls to the Court’s

attention one additional supplemental authority in connection with sentencing. Specifically,

Defendant calls to the Court’s attention United States v. Jeffrey Keller and Stuart Steinfeld, 13

Cr. 424 (JLS), in the United States District Court for the Southern District of California, the

docket sheet for which is attached. As discussed below, that case is one more in support of the

others already cited by Defendant that show that both the Government’s Guidelines arguments

and its ultimate sentencing recommendation in this case are out of keeping with how other

courts have viewed the harm from STOLI fraud.

       As the attached indictment shows, the defendants in that case were charged with STOLI

fraud involving 18 policies with death benefits totaling $110 million. Keller and Steinfeld each

pled guilty, the latter as a cooperator. In 2017, well after the sentences in Binday were available

as a model, Keller (the more culpable and non-cooperating defendant) was sentenced to 3

months’ imprisonment. In 2014, Steinfeld (less culpable and with the benefit of a 5K letter) was

sentenced to 60 days’ imprisonment.

       Importantly, although Keller’s sentencing documents are unavailable, the transcript of

Steinfeld’s sentencing reveals the government’s and district court’s conception of the harm
resulting from STOLI fraud for Sentencing Guidelines purposes. Specifically, unlike what the

Government proposes in the instant case, the government in that case did not contend, and the

district court did not find, that the face value of the procured policies contributed to some multi-

million-dollar intended loss amount. Indeed, despite 18 charged policies with a $110 million

face value, the Government did not contend, and the district court did not find, that there was any

intended loss at all. (See Steinfeld Sentencing Tr., at 8, 15, 17, 20-21.) Moreover, in a situation

where none of the insureds had died, the Government did not contend, and the district court did

not find, that there was any actual loss. (See Steinfeld Sentencing Tr., at 8, 17, 19-21.) The

Government and district court did not expressly address how they would have viewed actual loss

on a policy for which a death benefit had been paid, but the fact that they did not treat the

expected death benefit as a harm caused by the fraud for intended-loss purposes indicates that

they likewise (as Defendant argues in the instant case) would not have viewed a death benefit as

harm caused by the fraud for actual-loss purposes. In fact, just as the government and district

court did in United States v. Lebovits, et al. in the Eastern District of New York, the only

STOLI-related harm cited by the government at Steinfeld’s sentencing was that resulting from

lapse-rate differentials. (See Steinfeld Sentencing Tr., at 14-15.) Ultimately, the Government

asserted and the district court accepted that loss should be based on the defendants’ gain,

producing a pre-cooperation Guidelines range of 12 to 18 months in Steinfeld’s case, thereafter

reduced for substantial assistance. (See Steinfeld Sentencing Tr., at 15, 17, 19-21.)
       Thus, the Keller-Steinfeld sentencing is yet another instance in which a federal

prosecutor’s office and a district court viewed the reality of the harm from STOLI fraud as being

vastly less than what the Government proposes here, both for purposes of calculating loss under

the Sentencing Guidelines and for purposes of the sentence ultimately imposed.


                                             Respectfully submitted,

                                             /s/ Michael A. Levy
                                             James M. Cole, Esq.
                                             Michael A. Levy, Esq.
                                             Qais Ghafary, Esq.
                                             Sidley Austin LLP
                                             787 7th Avenue
                                             New York, NY 10019
                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 26, 2018, a copy of foregoing motion was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the Court’s CM/ECF System.

                                               /s/ Michael A. Levy
                                               Michael A. Levy, Esq.
                                               Sidley Austin LLP
                                               787 7th Avenue
                                               New York, NY 10019
                                               212-839-7341
                                               MLevy@Sidley.com
